                      Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 1 of 32


Fill in this information to identify the case:

United States Bankruptcy Court for the:
                           Southern District of Texas
                                          (State)                                                                                 ☐ Check if this is an
Case number (if known):                                       Chapter      11                                                         amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Gulfport Energy Corporation


                                                 N/A
2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                                 Mailing address, if different from principal place
                                                                                                      of business
                                          3001 Quail Springs Parkway
                                          Number            Street                                    Number         Street


                                                                                                      P.O. Box
                                          Oklahoma City,                Oklahoma 73134
                                          City                            State      Zip Code         City                         State      Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                          Oklahoma County
                                          County                                                      Number         Street




                                                                                                      City                         State      Zip Code




5. Debtor’s website (URL)                 https://www.gulfportenergy.com/

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:



      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor            Gulfport Energy Corporation                                    Case number (if known)
           Name



                                          A. Check One:
7.   Describe debtor’s business
                                          ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                          ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                          ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          ☒ None of the above

                                          B. Check all that apply:
                                          ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                          ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                          2111 (Oil and Gas Extraction)

8. Under which chapter of the             Check One:
   Bankruptcy Code is the
   debtor filing?                         ☐ Chapter 7

                                          ☐ Chapter 9

      A debtor who is a “small            ☒ Chapter 11. Check all that apply:
      business debtor” must
                                                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      check the first sub-box. A                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      debtor as defined in §                                  affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      1182(1) who elects to                                   balance sheet, statement of operations, cash-flow statement, and federal income tax
      proceed under subchapter                                return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      V of chapter 11 (whether or                             1116(1)(B).
      not the debtor is a “small
                                                            ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1). Its aggregate noncontingent
      business debtor”) must
                                                              liquidated debts (excluding debts owed to insiders or affiliates) are less than $7,500,000
      check the second sub-box.                               and it chooses to proceed under Subchapter V of Chapter 11. If this sub-box is
                                                              selected, attach the most recent balance sheet, statement of operations, cash-flow
                                                              statement, and federal income tax return or if any of these documents do not exist,
                                                              follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            ☐ A plan is being filed with this petition.

                                                            ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).
                                                            ☒ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                              Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                            ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          ☐ Chapter 12

9. Were prior bankruptcy cases        ☒ No       District
   filed by or against the debtor     ☐ Yes.                                        When     MM/DD/YYYY        Case number
   within the last 8 years?
                                                 District                           When                       Case number
     If more than 2 cases, attach a                                                          MM/DD/YYYY
     separate list.




     Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           Gulfport Energy Corporation                                        Case number (if known)
              Name



    10. Are any bankruptcy cases            ☐ No
        pending or being filed by a         ☒ Yes.                                                                     Relationship     Affiliate
                                                         Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                         District     Southern District of Texas
       List all cases. If more than 1,                                                                                 When             11/13/2020
       attach a separate list.                         Case number, if known _______________________                                    MM / DD / YYYY

    11. Why is the case filed in this      Check all that apply:
        district?
                                           ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                district.
                                           ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have        ☒ No1
        possession of any real             ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                         Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                     ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                           safety.
                                                           What is the hazard?

                                                     ☐     It needs to be physically secured or protected from the weather.

                                                       ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                            attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                            assets or other options).
                                                     ☐     Other


                                                     Where is the property?
                                                                                          Number          Street



                                                                                          City                                  State       Zip Code



                                                     Is the property insured?
                                                     ☐ No

                                                     ☐ Yes.         Insurance agency

                                                                    Contact name
                                                                    Phone




                           Statistical and administrative information

    13. Debtor's estimation of            Check one:
        available funds
                                          ☒ Funds will be available for distribution to unsecured creditors.
                                          ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.




1      The Debtors engage in the exploration, development, and production of oil and natural gas. Certain debtors possess or operate certain real properties
       where remediation and monitoring of contamination is presently underway. Although the Debtors are not aware of any definition of “imminent or
       identifiable hazard” as used in this form, the Debtors do not believe they own or possess any real or personal property that poses or is alleged to
       pose a threat of imminent and identifiable harm to the public health or safety.

       Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
                        Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 4 of 32
    Debtor           Gulfport Energy Corporation                                         Case number (if known)
              Name



    14. Estimated number of              ☐       1-49                       ☐     1,000-5,000                            ☐    25,001-50,000
        creditors1                       ☐       50-99                      ☐     5,001-10,000                           ☐    50,001-100,000
                                         ☐       100-199                    ☒     10,001-25,000                          ☐    More than 100,000
                                         ☐       200-999

    15. Estimated assets                 ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                         ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

    16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                         ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million         ☐    $100,000,001-$500 million              ☐    More than $50 billion

                       Request for Relief, Declaration, and Signatures

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
               $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

    17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
        authorized representative of         petition.
        debtor
                                             I have been authorized to file this petition on behalf of the debtor.
                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.

                                     I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on         11/13/2020
                                                                  MM/ DD / YYYY


                                                  /s/ Quentin R. Hicks                                               Quentin R. Hicks
                                                  Signature of authorized representative of debtor                Printed name

                                                  Title    Executive Vice President and
                                                           Chief Financial Officer




    18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                       Date        11/13/2020
                                                  Signature of attorney for debtor                                           MM/DD/YYYY



                                                  Matthew D. Cavenaugh
                                                  Printed name
                                                  Jackson Walker L.L.P.
                                                  Firm name
                                                  1401 McKinney Street, Suite 1900
                                                  Number                 Street
                                                  Houston                                                                Texas             77010
                                                  City                                                                   State               ZIP Code
                                                  (713) 752-4200                                                         mcavenaugh@jw.com
                                                  Contact phone                                                             Email address
                                                  24062656                                                Texas
                                                  Bar number                                          State



1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

       Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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Official Form 201A (12/15)

                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                                           HOUSTON DIVISION

                                                                              )
         In re:                                                               )   Chapter 11
                                                                              )
         GULFPORT ENERGY CORPORATION,                                         )   Case No. 20-___________(___)
                                                                              )
                                           Debtor.                            )
                                                                              )
             Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11

              1. If any of the debtor’s securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file
          number is   001-19514

              2. The following financial data is the latest available information and refers to the debtor’s condition on
          September 30, 2020


                  (a)   Total assets1                                             $   2,375,559,000
                  (b)   Total debts (including debts listed in 2.c., below)       $   2,520,336,000
                  (c)   Debt securities held by more than 500 holders                 N/A
                                                                                                        Approximate
                                                                                                        number of
                                                                                                        holders:
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $
                  secured     ☐    unsecured     ☐    subordinated      ☐     $

                                                                                                        5.0 Million Authorized
                  (d)   Number of shares of preferred stock                                             0 Outstanding
                                                                                                        200 Million Shares Authorized
                  (e)   Number of shares of common stock                                                160,762,186 Shares issued and
                                                                                                        outstanding


              Comments, if any: Gulfport Energy Corporation does not and cannot know the precise number of beneficial
          holders of any of the debt securities it has issued and does not believe that any such securities are held by more than
          500 holders.


               3. Brief description of debtor’s business:
          The Debtors are an independent returns-orientated, gas-weighted, exploration and development company and one of the
          largest producers of natural gas in the contiguous United States. The Debtors hold significant acreage positions in
          the Utica Shale of Eastern Ohio and the SCOOP Woodford and SCOOP Springer plays in Oklahoma.

               4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the
          voting securities of debtor:
          BlackRock Institutional Trust Company, N.A. (12.90%) and Vitruvian II Woodford, L.L.C. (8.56%)




1   The Debtors’ total assets reported herein reflect unaudited financial figures as of the quarter ended September 30, 2020 as reflected on the Debtors’
    form 10-Q filed November 9, 2020. This representation does not purport to reflect market value of the Debtors’ assets as of the date hereof.
                 Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 6 of 32




 Fill in this information to identify the case:
                                                                       ,
 United States Bankruptcy Court for the:
                           Southern District of Texas
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                                Chapter   11                                     amended filing


                                                     Rider 1
                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11 of the United States
Code. The Debtors have moved for joint administration of these cases under the case number assigned to the
chapter 11 case of Gulfport Energy Corporation.

    Gulfport Energy Corporation
    Gator Marine, Inc.
    Gator Marine Ivanhoe, Inc.
    Grizzly Holdings, Inc.
    Gulfport Appalachia, LLC
    Gulfport MidCon, LLC
    Gulfport Midstream Holdings, LLC
    Jaguar Resources LLC
    Mule Sky LLC
    Puma Resources, Inc.
    Westhawk Minerals LLC
             Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 7 of 32



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

                                                         )
    In re:                                               )    Chapter 11
                                                         )
    GULFPORT ENERGY CORPORATION,                         )    Case No. 20-___________(___)
                                                         )
                            Debtor.                      )
                                                         )

                                   LIST OF EQUITY SECURITY HOLDERS1

                                                                                    Type of
                                                                                                 Percentage
        Debtor         Registered Holder          Address of Equity Holder           Equity
                                                                                                    Held
                                                                                    Security
                      BlackRock Institutional   400 Howard Street                   Common
                                                                                                   12.90%
                      Trust Company, N.A.       San Francisco, CA 94105              Stock
Gulfport Energy
                                                2445 Technology Forest Blvd.,
 Corporation                                                                        Common
                      Vitruvian II Woodford,    Suite 1100                                          8.56%
                                                                                     Stock
                      L.L.C.                    The Woodlands, Texas 77381




1      This list reflects holders of five percent or more of Gulfport Energy Corporation’s common stock. This
       list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
       Rules of Bankruptcy Procedure. By the Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
       the Debtors to File a Consolidated List of Creditors and a Consolidated List of the 30 Largest Unsecured
       Creditors, (II) Waiving the Requirement to File a List of Equity Security Holders, (III) Authorizing the
       Debtors to Redact Certain Personal Identification Information, and (IV) Granting Related Relief filed
       contemporaneously herewith, the Debtor is requesting a waiver of the requirement under Bankruptcy
       Rule 1007 to file a list of all of its equity security holders.
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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                      )
 In re:                                               )    Chapter 11
                                                      )
 GULFPORT ENERGY CORPORATION,                         )    Case No. 20-___________(___)
                                                      )
                          Debtor.                     )
                                                      )

                                    CORPORATE OWNERSHIP STATEMENT

         Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or more of any
class of the debtor’s equity interest:

                     Shareholder                          Approximate Percentage of Shares Held

  BlackRock Institutional Trust Company, N.A.                               12.90%
                                        Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 9 of 32



    Fill in this information to identify the case:
    Debtor name Gulfport Energy Corporation et al.
    United States Bankruptcy Court for the: Southern District of Texas
    Case number (If known): ___________                                                                                                            Check if this is an
                                                                                                                                                    amended filing

    Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                            12/15
    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
    debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
    claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
    holders of the 30 largest unsecured claims.
    Name of creditor and complete mailing address,       Name, telephone number, and email address of     Nature of the claim       Indicate if claim   Amount of unsecured claim
    including zip code                                   creditor contact                                 (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                          debts, bank loans,       unliquidated, or     claim amount. If claim is partially secured, fill in
                                                                                                          professional services,   disputed             total claim amount and deduction for value of
                                                                                                          and government                                collateral or setoff to calculate unsecured claim.
                                                                                                          contracts)
                                                                                                                                                        Total claim, if    Deduction for      Unsecured
                                                                                                                                                        partially          value of           claim
                                                                                                                                                        secured            collateral or
                                                                                                                                                                           setoff
    UMB Bank, N.A.                                       Attn: Gavin Wilkinson
                                                                                                           6.000% Senior Notes
 1 120 South Sixth Street, Suite 1400                    Phone: (612) 337-7001                                                                                                                 $ 596,955,040
                                                                                                                due 2024
   Minneapolis, MN 55402                                 Email: gavin.wilkinson@umb.com
   UMB Bank, N.A.                                        Attn: Gavin Wilkinson
                                                                                                           6.375% Senior Notes
 2 120 South Sixth Street, Suite 1400                    Phone: (612) 337-7001                                                                                                                 $ 507,870,000
                                                                                                                due 2025
   Minneapolis, MN 55402                                 Email: gavin.wilkinson@umb.com
   UMB Bank, N.A.                                        Attn: Gavin Wilkinson
                                                                                                           6.375% Senior Notes
 3 120 South Sixth Street, Suite 1400                    Phone: (612) 337-7001                                                                                                                 $ 374,617,000
                                                                                                                due 2026
   Minneapolis, MN 55402                                 Email: gavin.wilkinson@umb.com
   UMB Bank, N.A.                                        Attn: Gavin Wilkinson
                                                                                                           6.625% Senior Notes
 4 120 South Sixth Street, Suite 1400                    Phone: (612) 337-7001                                                                                                                 $ 335,334,812
                                                                                                                due 2023
   Minneapolis, MN 55402                                 Email: gavin.wilkinson@umb.com
                                                         Attn: William A. (Andy) Hendricks, Jr.
    Universal Pressure Pumping                           Title: President and CEO
 5 777 NW 63rd St                                        Phone: (281) 765-7100                                Trade Payables                                                                   $     5,166,998
    Oklahoma City, OK 73116                              Email: andy.hendricks@patenergy.com
                                                         Fax: (281) 765-7175
                                                         Attn: Frank Semple
    Ohio Gathering Company LLC                           Title: CEO
 6 1515 Arapahoe Street, Tower 1 Ste 1600                Phone: (303) 316-7777                                Trade Payables                                                                   $     2,266,829
    Denver, CO 80202                                     Email: franksemple@markwest.com
                                                         Fax: (303) 290-8769
                                                         Attn: Frank Semple
    Markwest Utica EMG LLC                               Title: CEO
 7 1515 Arapahoe St. Tower One, Suite 1500               Phone: (303) 316-7777                                Trade Payables                                                                   $     2,125,580
    Denver, CO 80202                                     Email: franksemple@markwest.com
                                                         Fax: (303) 290-8769
                                                         Attn: David Khani
    EQT Production Company, Corp.
                                                         Title: CFO
 8 625 Liberty Ave Ste 1700                                                                                    JIB Payables                                                                    $     2,063,065
                                                         Phone: (412) 395-2555
    Pittsburgh, PA 15222
                                                         Email: dkhani@eqt.com
                                                         Attn: Steve Tait
    B&L Pipeco Services, Inc.
                                                         Title: CEO
 9 20465 Texas 249 Access Rd #200                                                                             Trade Payables                                                                   $     2,026,540
                                                         Phone: (281) 955-3500
    Houston, TX 77070
                                                         Email: stevet@blpipeco.com
                                                         Attn: Kirk Oliver
    Equitrans Water (OH), LLC
                                                         Title: CFO
 10 2200 Energy Drive                                                                                         Trade Payables                                                                   $     1,929,542
                                                         Phone: (214) 904-9439
    Canonsburg, PA 15317
                                                         Email: kirk.oliver@energymp.com
                                                         Attn: Joseph L. Griffin
    Woodford Express, LLC
                                                         Title: CEO
 11 5550 N. Francis Avenue                                                                                    Trade Payables         Unliquidated                                              $     1,422,294
                                                         Phone: (405) 437-0850
    Oklahoma City, OK 73118
                                                         Email: joseph@explorermidstream.com
                                                         Attn: Scott Burch
    SB Directional Services LLC
                                                         Title: Owner
 12 5135 SW 29th St                                                                                           Trade Payables                                                                   $     1,380,092
                                                         Phone: (405) 926-7177
    Oklahoma City, OK 73179
                                                         Email: scott.burch@sbdirectionalservices.com




Official Form 204                                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                           Page 1
                                             Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 10 of 32
Debtor Gulfport Energy Corporation, et al.                                                                                              Case number (if known)_____________________________________




       Name of creditor and complete mailing address,   Name, telephone number, and email address of     Nature of the claim       Indicate if claim   Amount of unsecured claim
       including zip code                               creditor contact                                 (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                         debts, bank loans,       unliquidated, or     claim amount. If claim is partially secured, fill in
                                                                                                         professional services,   disputed             total claim amount and deduction for value of
                                                                                                         and government                                collateral or setoff to calculate unsecured claim.
                                                                                                         contracts)
                                                                                                                                                       Total claim, if    Deduction for      Unsecured
                                                                                                                                                       partially          value of           claim
                                                                                                                                                       secured            collateral or
                                                                                                                                                                          setoff
                                                        Attn: Chris Force
       Force Inc                                        Title: Vice President
    13 1380 Rte. 286 Hwy E., Suite 303                  Phone: (724) 465-9399                                Trade Payables                                                                   $     1,312,700
       Indiana, PA 15701                                Email: Chris.Force@oesinc.com
                                                        Fax: (724) 465-9829
                                                        Attn: Richard Baxter
       AES Drilling Fluids LLC                          Title: President
    14 11767 Katy Freeway, Suite 230                    Phone: (281) 556-5628                                Trade Payables                                                                   $       995,218
       Houston, TX 77079                                Email: richard.baxter@AESFluids.com
                                                        Fax: (281) 589-7150
                                                        Attn: Maurice Potts
       Cyclone Drilling Fluids LLC
                                                        Title: Manager
    15 320 Decker Dr Ste 100                                                                                 Trade Payables                                                                   $       920,545
                                                        Phone: (903) 267-5768
       Irving, TX 75062
                                                        Email: maurice@cycloneholdings.net
                                                        Attn: Matt Porter
       Pioneer Drilling Services LTD
                                                        Title: Inerim CEO
    16 1250 N.E. Loop 410, Ste 1000                                                                          Trade Payables                                                                   $       803,522
                                                        Phone: (210) 828-7689
       San Antonio, TX 78209
                                                        Email: MPorter@pioneeres.com
                                                        Attn: Mark Marmo
       Deep Well Services                               Title: CEO
    17 719 West New Castle Street                       Phone: (724) 473-0687                                Trade Payables                                                                   $       787,117
       Zelienople, PA 16063                             Email: mmarmo@deepwellservices.com
                                                        Fax: (724) 473-0689
                                                        Attn: Chad Lassoued
       RWLS LLC dba Renegade Services                   Title: CEO
    18 1937 West Ave                                    Phone: (806) 897-0736                                Trade Payables                                                                   $       737,900
       Levelland, TX 79336                              Email: classoued@renegadewls.com
                                                        Fax: (806) 568-0047
       Mountaineer Specialty, LLC                       Attn: James Davisson
    19 4171 Shinnston Pike                              Title: Manager                                       Trade Payables                                                                   $       679,016
       Clarksburg, WV 26301                             Phone: (304) 969-9180
                                                        Attn: John W. Lindsey
       Helmerich & Payne Int Drillng, Corp.
                                                        Title: CEO
    20 1437 S Boulder Ave                                                                                    Trade Payables                                                                   $       647,685
                                                        Phone: (918) 742-5531
       Tulsa, OK 74119
                                                        Email: john.lindsay@hpinc.com
                                                        Attn: Robert Drummond
       Nextier Completion Solutions
                                                        Title: CEO
    21 3990 Rogerdale Rd                                                                                     Trade Payables                                                                   $       543,282
                                                        Phone: (713) 325-6000
       Houston, TX 77042
                                                        Email: robert.drummond@nextierofs.com
                                                        Attn: Tom Shrader
       Gas Field Services LLC                           Title: CEO
    22 17908 Hwy 19                                     Phone: (276) 880-2323                                Trade Payables                                                                   $       532,199
       Rosedale, VA 24280                               Email: tom@gasfieldsvc.com
                                                        Fax: (276) 880-3200
                                                        Attn: David C. Mannon
       Stallion Oilfield Construction, Corp.            Title: CEO
    23 950 Corbindale Rd Ste 400                        Phone: (713) 528-5544                                Trade Payables                                                                   $       423,521
       Houston, TX 77024                                Email: dmannon@stallionoilfield.com
                                                        Fax: (713) 528-1276
                                                        Attn: Lorenzo Simonelli
       Baker Hughes Oilfield Operations LLC
                                                        Title: CEO
    24 17021 Aldine Westfield Road                                                                           Trade Payables                                                                   $       385,744
                                                        Phone: (713) 439-8600
       Houston, TX 77073
                                                        Email: lorenzo.simonelli@bakerhughes.com
                                                        Attn: Daniel Reed
       UnitedLex
                                                        Title: CEO
    25 6130 Sprint Parkway Suite 300                                                                         Trade Payables                                                                   $       379,747
                                                        Phone: (913) 685-8900
       Overland Park, KS 66211
                                                        Email: daniel.reed@unitedlex.com
                                                        Attn: Chase Johnson
       ROC Service Company, LLC
                                                        Title: CEO
    26 125 Technology Drive, Suite 200                                                                       Trade Payables                                                                   $       328,001
                                                        Phone: (724) 745-3319
       Cannonsburg, PA 15330
                                                        Email: cjohnson@rocserviceco.com




  Official Form 204                                     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                           Page 2
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Debtor Gulfport Energy Corporation, et al.                                                                                                                    Case number (if known)_____________________________________




      Name of creditor and complete mailing address,                    Name, telephone number, and email address of           Nature of the claim       Indicate if claim   Amount of unsecured claim
      including zip code                                                creditor contact                                       (for example, trade      is contingent,       If the claim is fully unsecured, fill in only unsecured
                                                                                                                               debts, bank loans,       unliquidated, or     claim amount. If claim is partially secured, fill in
                                                                                                                               professional services,   disputed             total claim amount and deduction for value of
                                                                                                                               and government                                collateral or setoff to calculate unsecured claim.
                                                                                                                               contracts)
                                                                                                                                                                             Total claim, if    Deduction for      Unsecured
                                                                                                                                                                             partially          value of           claim
                                                                                                                                                                             secured            collateral or
                                                                                                                                                                                                setoff
                                                                        Attn: Glenn Dubois
      LEAM Drilling Services, LLC
                                                                        Title: CEO
  27 3114 W. Old Spanish Trail                                                                                                     Trade Payables                                                                   $       323,330
                                                                        Phone: (405) 440-9436
      New Iberia, LA 70560
                                                                        Email: gdubois@leam.net
                                                                        Attn: Robert Smith
      Armada E&P OH, LLC DBA Mud Masters
                                                                        Title: President
  28 64054 Wintergreen Road                                                                                                        Trade Payables                                                                   $       296,813
                                                                        Phone: (740) 955-0284
      Lore City, OH 43755
                                                                        Email: robert.smith@armadawaste.com
                                                                        Attn: Ann G. Fox
      Nine Downhole Technologies LLC                                    Title: CEO
  29 2001 Kirby Drive Suite 200                                         Phone: (281) 730-5100                                      Trade Payables                                                                   $       286,020
      Houston, TX 77019                                                 Email: ann.fox@nineenergyservice.com
                                                                        Fax: (281) 605-1318
                                                                        Attn: John Nunnally
      Traco Production Services, Inc                                    Title: CEO
  30 425 Griffin Rd                                                     Phone: (337) 857-6000                                      Trade Payables                                                                   $       283,789
      Youngsville, LA 70592                                             Email: john.nunnally@qualityco.com
                                                                        Fax: (337) 857-6001

  Note: Amounts may contain projected estimates of pre-petition liability as of the Petition Date and are subject to change.




 Official Form 204                                                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                 Page 3
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                   WRITTEN CONSENT OF THE GOVERNING BODIES
                    OF THE ENTITIES SET FORTH ON SCHEDULE 1

                                      NOVEMBER 13, 2020

         The undersigned, being all of the directors or managers, as applicable (each, a “Governing
Body”), of each entity set forth on Schedule 1 attached hereto (each, a “Company,” and,
collectively, the “Companies”), in such capacity, do hereby approve, consent to, adopt, and ratify
the following actions and resolutions by written consent pursuant to such Company’s limited
liability company agreement, bylaws, or other governing agreement, as applicable, and the
Delaware Limited Liability Company Act, as amended, and the Delaware General Corporation
Law, as amended (as applicable).

        WHEREAS, the Unites States Commodity Exchange Act as amended (the “CEA”) and
the regulations thereunder provide that certain swaps (as defined in Section 1(a)(47) of the CEA)
must be submitted for clearing to a derivatives clearing organization that is registered or exempt
from registration under the CEA and executed on a board of trade designated as a contract market
under the CEA (a “DCM”) or a swap execution facility registered or exempt from registration
under the CEA (a “SEF”).

         WHEREAS, the CEA provides and regulations under the CEA detail the requirements
for compliance with an exemption from the CEA clearing requirements referred to as the “end-user
exception” for any entity that is not a financial entity, will elect the end-user exception only in
respect of swaps that hedge or mitigate commercial risk and notifies the United States Commodity
Futures Trading Commission (the “CFTC”) in a manner set forth by the CFTC how it generally
meets its financial obligations associated with entering into non-cleared swaps.

         WHEREAS, Gulfport Energy Corporation (the “Corporation”) is not a financial entity
and will notify (either directly or via a trading counterparty in accordance with the CFTC rules
and regulations) the CFTC in a manner set forth by the CFTC that it will elect the end-user
exception only in respect of swaps that hedge or mitigate commercial risk and of how it generally
meets its financial obligations associated with entering into non-cleared swaps.

         WHEREAS, the CEA provides that the end-user exception shall be available to a
counterparty that is, or is controlled by, an issuer of securities that are registered under Section 12
of the Securities Exchange Act of 1934 only if an appropriate committee of the issuer’s board of
directors or governing body has reviewed and approved its decision to enter into swaps that are
subject to the end-user exception.

        WHEREAS, Gulfport Energy Corporation is, or is controlled by, an issuer of securities
that are registered under Section 12 of the Securities Exchange Act of 1934.

        WHEREAS, the Governing Body of each Company has considered certain materials
presented by, or on behalf of, such Company’s management (such Company’s “Management”)
and financial and legal advisors (collectively, such Company’s “Advisors”), including, but not
limited to, materials regarding the liabilities, obligations, and liquidity of such Company, the




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strategic alternatives available to such Company, and the impact of the foregoing on such
Company’s business and the business of such Company’s affiliates.

        WHEREAS, the Governing Body of each Company has reviewed and considered
presentations by Management and the Advisors of such Company regarding that certain
restructuring support agreement, dated as of November 12, 2020 (the “Restructuring Support
Agreement”) and the advantages and disadvantages to such Company of the transactions
contemplated thereunder.

        WHEREAS, the Governing Body of each Company has reviewed and considered
presentations by Management and the Advisors of such Company regarding the advantages and
disadvantages of the chapter 11 plan of reorganization (as may be amended, modified, or
supplemented from time to time, the “Plan”) contemplated in the Restructuring Support
Agreement.

       WHEREAS, the bylaws and limited liability company agreements of each Governing
Body, as applicable, set forth that each such Governing Body may appoint such officers as it shall
deem necessary or advisable and shall exercise such powers and perform such duties as shall be
determined by such Governing Body.

        WHEREAS, the Governing Body of each Company deems it to be in the best interests of
such Company to appoint a Chief Restructuring Officer to assist each such Company with its
restructuring efforts.

        WHEREAS, the Restructuring Committee of the Governing Body of each Company has
reviewed and been advised by counsel regarding the Restructuring Support Agreement and
recommended that the Governing Body of each Company ratify each Company’s entry into the
Restructuring Support Agreement.

        WHEREAS, the Governing Body of each Company has had adequate opportunity to
consult with Management and the Advisors regarding the materials presented, to obtain additional
information, and to fully consider each of the strategic alternatives available to such Company.

         WHEREAS, the Governing Body of each Company has determined, in the judgment of
such Governing Body, that the following resolutions, as applicable, are advisable and in the best
interests of such Company, its interest holders, its creditors, and other parties in interest.

                             Voluntary Petition for Relief under
                  Applicable Bankruptcy Law and Seeking Necessary Relief

        NOW, THEREFORE, BE IT RESOLVED, that in the judgment of the Governing Body
of each Company, it is desirable and in the best interest of such Company, its interest holders, its
creditors, and other parties in interest, that such Company shall be, and hereby is, in all respects
authorized to file, or cause to be filed, a voluntary petition for relief (the “Bankruptcy Petition”)
under the provisions of chapter 11 of title 11 of the United States Code, 11 U.S.C. § 101 et seq.
(as amended, the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”) for such Company and, in accordance with the



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requirements of such Company’s governing documents and applicable law, hereby consents to,
authorizes, and approves, the filing of the Bankruptcy Petitions.

         RESOLVED, that any partner, director (or manager, as applicable), or duly appointed
officer of a Company, each acting individually and with full power of substitution (together with
any persons to whom such persons delegate certain responsibilities, collectively, the “Authorized
Persons”) be, and hereby is, authorized to execute (on behalf of the Company or under the common
seal of such Company, if appropriate) and file on behalf of such Company all petitions, schedules,
lists, and other motions, papers, or documents, and to take any and all action that such Authorized
Person deems necessary or proper to obtain such relief, including, but not limited to, any action
necessary or proper to maintain the ordinary course operations of such Company or any of its
subsidiaries.

                                    Retention of Professionals

        RESOLVED, that each of the Authorized Persons of each Company, each acting
individually and with full power of substitution, be, and hereby is, authorized, empowered, and
directed to employ the following professionals on behalf of such Company: (i) the law firm of
Kirkland & Ellis LLP, as general bankruptcy counsel; (ii) the law firm of Jackson Walker LLP, as
local bankruptcy counsel; (iii) the firm of Alvarez & Marsal North America, LLC (“A&M”), as
restructuring advisor; (iv) the firm of Perella Weinberg Partners L.P., as financial advisor; (v) the
firm of Tudor, Pickering, Holt & Co., as financial advisor; (vi) the firm of PricewaterhouseCoopers
LLP, as tax services provider; (vii) Epiq Corporate Restructuring, LLC, as claims, noticing,
solicitation, and administrative agent; (viii) the law firm of Wachtell, Lipton, Rosen & Katz, as
counsel, and Chilmark Partners as financial advisor, for the Special Committee of the Board of
Directors of Gulfport Energy Corporation; (ix) Katten Muchin Rosenman LLP, as counsel, and
M-III Partners, LP, as financial advisor, for the Special Committee of the Governing Body of each
Company other than Gulfport Energy Corporation; and (x) any other legal counsel, accountants,
financial advisors, restructuring advisors, or other professionals such Authorized Person deems
necessary, appropriate, or advisable; each to represent and assist such Company in carrying out its
duties and responsibilities and exercising its rights under the Bankruptcy Code and any applicable
law (including, but not limited to, the law firms filing any pleadings or responses) and to take any
and all actions to advance the rights and obligations of such Company, including filing any
motions, objections, replies, applications, or pleadings; and in connection therewith, each of the
Authorized Persons be, and hereby is, authorized, empowered, and directed, in accordance with
the terms and conditions hereof, to execute (under the company or common seal of such Company,
if appropriate) appropriate retention agreements, pay appropriate retainers, and to cause to be filed
appropriate applications for authority to retain such professionals.

                          Appointment of Chief Restructuring Officer

        RESOLVED, that Mark Rajcevich, be, and hereby is, appointed to serve as the Chief
Restructuring Officer of each Company. The Chief Restructuring Officer shall report to the Chief
Executive Officer, and shall serve for such a term, and shall exercise such powers and perform such
duties as shall be determined by, the Chief Executive Officer of each Governing Body.




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         Cash Collateral, Debtor-in-Possession Financing, and Adequate Protection

        RESOLVED, that each Company will obtain benefits, which are necessary and convenient
to the conduct, promotion, and attainment of the business of such Company, from (a) the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy
Code (the “Cash Collateral”), which is security for certain prepetition secured lenders, including
the lenders party to that certain Amended and Restated Credit Agreement, dated as of December
27, 2013, by and among Gulfport Energy Corporation (“Gulfport”), as borrower, the Bank of Nova
Scotia, as administrative agent and issuing bank, the Bank of Nova Scotia, KeyBank National
Association, and PNC Bank, National Association, as joint lead arrangers and joint bookrunners,
KeyBank National Association and PNC Bank, National Association, as co-syndication agents,
Credit Suisse AG, Cayman Islands Branch, Wells Fargo Bank, N.A., and Barclays Bank PLC, as
co-documentation agents, and each of the lenders party thereto, as amended by that certain First
Amendment, dated as of April 23, 2014, that certain Second Amendment, dated as of November
26, 2014, that certain Third Amendment, dated as of April 10, 2015, that certain Fourth
Amendment and Limited Consent and Waiver dated as of May 29, 2015, that certain Fifth
Amendment dated as of September 18, 2015, that certain Sixth Amendment dated as of February
19, 2016, that certain Seventh Amendment dated as of December 13, 2016, that certain Eighth
Amendment dated as of March 29, 2017, that certain Ninth Amendment dated as of May 4, 2017,
that certain Tenth Amendment dated as of October 4, 2017, that certain Eleventh Amendment
dated as of November 21, 2017, that certain Twelfth Amendment dated as of May 21, 2018, that
certain Thirteenth Amendment dated as of November 28, 2018, that certain Fourteenth
Amendment dated as of June 3, 2019, that certain Fifteenth Amendment, dated as of May 1, 2020,
and that certain Sixteenth Amendment, dated as of July 27, 2020, and as further amended, amended
and restated, supplemented, or otherwise modified from time to time, (b) the incurrence of
debtor-in-possession financing obligations by entering into that certain Senior Secured
Super-Priority Debtor-In-Possession Credit Agreement (the “DIP Credit Agreement”), to be dated
on or about November 12, 2020 (the “DIP Financing”), and (c) continuing to perform under certain
prepetition Lender Swap Contracts (as defined in the DIP Credit Agreement) and securing such
Lender Swap Contracts and any Lender Swap Contracts entered into postpetition on a pari passu
basis with the obligations under the DIP Credit Agreement.

       RESOLVED, that in order to use and obtain the benefits of the DIP Financing and
Cash Collateral, in accordance with section 363 of the Bankruptcy Code, each Company will
provide certain adequate protection to the secured parties (the “Adequate Protection Obligations”),
as documented in a proposed order in interim and final form (the “DIP Order”) and submitted for
approval to the Bankruptcy Court.

       RESOLVED, that the form, terms, and provisions of the DIP Credit Agreement be, and
hereby are, in all respects approved, and each Company is authorized to enter into the DIP Credit
Agreement subject to approval by the Bankruptcy Court.

       RESOLVED, that the form, terms, and provisions of the DIP Order to which each
Company is or will be subject, and the actions and transactions contemplated thereby be, and
hereby are, authorized, adopted, and approved, and each of the Authorized Persons of each
Company be, and hereby is, authorized, directed, and empowered, in the name of and on behalf of
such Company, to take such actions and negotiate or cause to be prepared and negotiated and to


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execute, deliver, perform, and cause the performance of, the DIP Order and the DIP Credit
Agreement, and such other agreements, certificates, instruments, notices, receipts, recordings,
filings, petitions, motions, or other papers or documents to which such Company is or will be a
party, including, but not limited to, any security and pledge agreement or guaranty agreement
(collectively, with the DIP Order and the DIP Credit Agreement, the “DIP Documents”), incur and
pay or cause to be paid all fees and expenses and engage such persons, in each case, in the form
or substantially in the form thereof submitted to the Board, with such changes, additions, and
modifications thereto as the officers of each Company executing the same shall approve, such
approval to be conclusively evidenced by such officers’ execution and delivery thereof.

        RESOLVED, that each Company, as debtor and debtor in possession under the
Bankruptcy Code be, and hereby is, authorized to incur the Adequate Protection Obligations and
to undertake any and all related transactions on substantially the same terms as contemplated under
the DIP Documents (collectively, the “DIP Transactions”), including the guaranty of the
obligations thereunder and the granting of liens on substantially all of its assets to secure such
obligations.

        RESOLVED, that the Authorized Persons of each Company be, and they hereby are,
authorized and directed, and each of them acting alone hereby is, authorized, directed, and
empowered in the name of, and on behalf of, such Company, as debtor and debtor in possession,
to take such actions as in their discretion is determined to be necessary, desirable, or appropriate
and effectuate the DIP Transactions, including delivery of: (a) the DIP Documents and such
agreements, certificates, instruments, fee letters, guaranties, notices, and any and all other
documents, including, without limitation, any amendments to any DIP Documents; and (b) such
other agreements, instruments, certificates, notices, assignments, and documents as may be
reasonably requested by the agent under the DIP Financing (the “DIP Agent”) (clauses (a) and (b)
of this paragraph, collectively, the “DIP Financing Documents”).

        RESOLVED, that each of the Authorized Persons of each Company be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, such Company to file or to
authorize the DIP Agent to file any Uniform Commercial Code (the “UCC”) financing statements,
any other equivalent filings, any intellectual property filings and recordation, and any necessary
assignments for security or other documents in the name of such Company that the DIP Agent
deems necessary or appropriate to perfect any lien or security interest granted under the DIP Order,
including any such UCC financing statement containing a generic description of collateral, such
as “all assets,” “all property now or hereafter acquired,” and other similar descriptions of like
import, and to execute and deliver, and to record or authorize the recording of, such mortgages and
deeds of trust in respect of real property of such Company and such other filings in respect of
intellectual and other property of such Company, in each case as the DIP Agent may reasonably
request to perfect the security interests of the DIP Agent under the DIP Order.

        RESOLVED, that each of the Authorized Persons of each Company be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, such Company to take all
such further actions, including, without limitation, to pay or approve the payment of all fees and
expenses payable in connection with the DIP Transactions and all fees and expenses incurred by
or on behalf of such Company in connection with the foregoing resolutions, in accordance with
the terms of the DIP Financing Documents, which shall in their sole judgment be necessary, proper,


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or advisable to perform such Company’s obligations under or in connection with the DIP Order or
any of the other DIP Financing Documents and the transactions contemplated therein and to carry
out fully the intent of the foregoing resolutions.

              The Restructuring Support Agreement and the Chapter 11 Plan

        RESOLVED, that the Governing Body of each Company has determined in its business
judgment that it is desirable and in the best interests of such Company, its creditors, and other
stakeholders to enter into the Restructuring Support Agreement and that such Company’s performance
of its obligations under the Restructuring Support Agreement be and hereby is, in all respects,
authorized and approved.

       RESOLVED, that each of the Authorized Officers of the Companies be, and each is,
authorized to take all actions (including, without limitation, to negotiate and execute any
agreements, documents, or certificates) necessary to enter into the Restructuring Support
Agreement and to consummate the transactions contemplated thereby in connection with the
Bankruptcy Petition, and that each such Company’s performance of its obligations under the
Restructuring Support Agreement hereby is, in all respects, authorized and approved.

        RESOLVED, that each of the Authorized Officers of the Companies has determined in its
business judgment it is desirable and in the best interests of each of such Company, its creditors,
and other stakeholders that the Authorized Officers file or cause to be filed the Plan and all other
papers or documents (including any amendments) related thereto and to take any and all actions
that they deem necessary or appropriate to pursue confirmation and consummation of a plan of
reorganization materially consistent with the Plan.

       RESOLVED, that the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, be and they hereby are, authorized, empowered, and directed,
together with the Advisors, to file all other documents deemed necessary to confirm a plan of
reorganization materially consistent with the Plan, including, but not limited to, any amendments
to and modifications of the Plan.

        RESOLVED, that the Authorized Officers of each Company, acting alone or with one or
more other Authorized Officers, be, and they hereby are, authorized, empowered, and directed to
take or cause to be taken any and all such other and further action, and to execute, acknowledge,
deliver, and file any and all such instruments as each, in his or her discretion, may deem necessary
or advisable in order to consummate the Plan if confirmed by the Bankruptcy Court.

                                     Hedging Transactions

        RESOLVED, that the board of directors of the Corporation hereby approves in all respects
the decision that the Corporation may enter into swaps (a) that are exempt from the requirements
of sections 2(h)(1) and 2(h)(8) of the CEA, and, as such, are neither cleared nor executed on a
DCM or SEF, in reliance on the end-user exception, and/or (b) that are contemplated by and/or
permitted by the DIP Documents.

       RESOLVED, it shall be the policy of the Corporation that swaps and other derivative
instruments may be used by the Corporation for hedging and commercial risk mitigation purposes,


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not for solely speculative purposes and otherwise in accordance with hedging and treasury risk
management policies and standards adopted by the Corporation, and in electing whether or not to
use the end-user exception the Corporation’s management shall consider the relative costs, hedge
effectiveness and counterparty credit risk respecting cleared and non-cleared swaps.

        RESOLVED, that each of the Authorized Officers are and each of them hereby is
authorized and directed to cause the Corporation to report to the CFTC (either directly or via a
trading counterparty in accordance with the CFTC rules and regulations) as required by regulations
under the CEA the decision that the Corporation may enter into swaps that are neither cleared nor
executed on a DCM or SEF in reliance on the end-user exception as made pursuant to these
resolutions together with such additional information as is required by such regulations and to take
all such further actions as they may deem necessary or advisable in order to carry out the intent of
these resolutions.

        RESOLVED, that certain of the Authorized Persons authorized by any applicable hedging
or treasury risk management policy documentation adopted by the Corporation are and each of
them hereby is authorized and directed to cause the Corporation to apply the end-user exception
to specific swaps in a manner consistent with the Corporation’s policies governing the
Corporation’s use of swaps.

        RESOLVED, that the Authorized Persons are and each of them hereby is authorized to
approve any and all other documents or instruments and to do or cause to be done all other acts or
things as the Authorized Persons may deem necessary or desirable in connection with reliance on
the end-user exception.

                               Further Actions and Prior Actions

        RESOLVED, that each of the Authorized Persons of a Company, each acting individually
and with full power of substitution be, and hereby is, authorized, empowered, and directed to
execute (under the company or common seal of such Company, if appropriate) and file all
petitions, schedules, motions, lists, applications, pleadings, and other papers, and to perform such
further actions and execute (under the company or common seal of such Company, if appropriate)
such further documentation that such Authorized Person in their absolute discretion deems
necessary, appropriate, or desirable in accordance with these resolutions.

        RESOLVED, that, in addition to the specific authorizations heretofore conferred upon the
Authorized Persons, the Authorized Persons of a Company, either individually or as otherwise
required by such Company’s governing documents and applicable law, be, and each of them
hereby is, authorized to take any and all such other and further actions, and to do all such other
deeds and other things as the applicable Company itself may lawfully do, in accordance with its
governing documents and applicable law, including but not limited to, the negotiation, finalization,
execution (under the company or common seal of such Company, if appropriate),
acknowledgement, delivery, and filing of any and all agreements, certificates, instruments, powers
of attorney, letters, forms, transfer, deeds and other documents on behalf of such Company, and
the payment of all expenses, including but not limited to filing fees, in each case as such
Authorized Person’s or Authorized Persons’ may, in his/her/its/their absolute and unfettered
discretion approve, deem or determine necessary, appropriate, advisable, or desirable in order to


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fully carry out the intent and accomplish the purposes of the resolutions adopted herein; such
approval, deeming, or determination to be conclusively evidenced by said individual taking such
action or the execution thereof.

        RESOLVED, that the Governing Body of each Company has received sufficient notice of
the actions and transactions relating to the matters contemplated by the foregoing resolutions, as
may be required by the organizational documents of such Company, or hereby waives any right to
have received such notice.

        RESOLVED, that all acts, actions, and transactions relating to the matters contemplated
by the foregoing resolutions done in the name of and on behalf of any Company, which acts would
have been approved by the foregoing resolutions except that such acts were taken before the
adoption of these resolutions, are hereby in all respects approved, confirmed, and ratified as the
true acts and deeds of such Company with the same force and effect as if each such act, transaction,
agreement, or certificate had been specifically authorized in advance by resolution of the
Governing Body of such Company.

       The actions taken by this written consent shall have the same force and effect as if taken at
a meeting of each Governing Body, pursuant to the governing documents of each Company and
the laws of the State of Delaware.

                                     [Signature pages follow]

                                             * * * *




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        IN WITNESS WHEREOF, the undersigned have executed this written consent as of the
date first above written.

                                            GULFPORT ENERGY CORPORATION:



                                            /s/ Deborah G. Adams
                                            Deborah G. Adams


                                            /s/ Alvin Bledsoe
                                            Alvin Bledsoe


                                            /s/ Samantha Holroyd
                                            Samantha Holroyd


                                            /s/ Valerie Jochen
                                            Valerie Jochen


                                            /s/ C. Doug Johnson
                                            C. Doug Johnson


                                            /s/ Ben T. Morris
                                            Ben T. Morris


                                            /s/ John W. Somerhalder II
                                            John W. Somerhalder II


                                            /s/ David M. Wood
                                            David M. Wood




                                            ****




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            GATOR MARINE, INC.:


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Director


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Director




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            GATOR MARINE IVANHOE, INC:


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Director


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Director




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            GRIZZLY HOLDINGS, INC.:


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Director


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Director




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            PUMA RESOURCES, INC.


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Director


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Director




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            GULFPORT APPALACHIA, LLC


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Manager


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Manager




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
       Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 26 of 32




        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            GULFPORT MIDCON, LLC


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Manager


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Manager




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
       Case 20-35562 Document 1 Filed in TXSB on 11/13/20 Page 27 of 32




        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            GULFPORT MIDSTREAM HOLDINGS, LLC


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Manager


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Manager




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            MULE SKY LLC


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Manager


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Manager




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            JAGUAR RESOURCES LLC


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Manager


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Manager




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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        IN WITNESS WHEREOF, the undersigned have duly executed this written consent as of
the date first written above.

                                            WESTHAWK MINERALS LLC


                                            By: /s/ Andrew C. Kidd
                                            Name: Andrew C. Kidd
                                            Title: Manager


                                            By: /s/ Stefan M. Selig
                                            Name: Stefan M. Selig
                                            Title: Manager




          [SIGNATURE PAGE TO BOARD RESOLUTIONS OF THE ENTITIES SET FORTH ON SCHEDULE 1]
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                             Schedule 1

     No.   Name of the Company                Jurisdiction

     1.    Gulfport Energy Corporation                 Delaware
     2.    Gator Marine, Inc.                          Delaware
     3.    Gator Marine Ivanhoe, Inc.                  Delaware
     4.    Grizzly Holdings, Inc.                      Delaware
     5.    Puma Resources, Inc.                        Delaware
     6.    Gulfport Appalachia, LLC                    Delaware
     7.    Gulfport MidCon, LLC                        Delaware
     8.    Gulfport Midstream Holdings, LLC            Delaware
     9.    Mule Sky LLC                                Delaware
     10.   Jaguar Resources LLC                        Delaware
     11.   Westhawk Minerals LLC                       Delaware




                             [SCHEDULE 1]
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    Fill in this information to identify the case and this filing:

   Debtor Name          Gulfport Energy Corporation


   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration: List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Quentin R. Hicks
                                       11/13/2020
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 Quentin R. Hicks
                                                                                 Printed name
                                                                                 Executive Vice President and Chief Financial Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
